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                         Exhibit 1
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                                                              The Honorable Richard A. Jones
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                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 8
     STATE OF WASHINGTON; STATE OF
 9   CALIFORNIA; STATE OF COLORADO;                  No. 2:20-cv-00111-RAJ
10   STATE OF CONNECTICUT; STATE OF
     DELAWARE; DISTRICT OF COLUMBIA;                 [PROPOSED] BRIEF OF AMICUS CURIAE
11   STATE OF HAWAII; STATE OF ILLINOIS;             BRADY IN SUPPORT OF PLAINTIFFS’
     STATE OF MAINE; STATE OF                        MOTION FOR PRELIMINARY INJUNCTION
12   MARYLAND; COMMONWEALTH OF
     MASSACHUSETTS; STATE OF                         Note on Motion Calendar:
13   MICHIGAN; STATE OF MINNESOTA;                   February 13, 2020
14   STATE OF NEW JERSEY; STATE OF NEW
     MEXICO; STATE OF NEW YORK; STATE
15   OF NORTH CAROLINA; STATE OF
     OREGON; COMMONWEALTH OF
16   PENNSYLVANIA; STATE OF RHODE
     ISLAND; STATE OF VERMONT;
17   COMMONWEALTH OF VIRGINIA; and
18   STATE OF WISCONSIN,

19                                  Plaintiffs,

20   v.
21
     UNITED STATES DEPARTMENT OF
22   STATE; MICHAEL R. POMPEO, in his
     official capacity as Secretary of State;
23   DIRECTORATE OF DEFENSE TRADE
     CONTROLS; MIKE MILLER, in his official
24   capacity as Acting Deputy Assistant Secretary
     of Defense Trade Controls; SARAH
25
     HEIDEMA, in her official capacity as Director
26   of Policy, Office of Defense Trade Controls
     Policy; UNITED STATES DEPARTMENT
27   OF COMMERCE; WILBUR L. ROSS, in his
     official capacity as Secretary of Commerce;
28

                                                                        H OGA N L OVE LL S US LLP
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     BUREAU OF INDUSTRY AND SECURITY;
 1   CORDELL HULL, in his official capacity as
     Acting Undersecretary for Industry and
 2
     Security; RICH ASHOOH, in his official
 3   capacity as Assistant Secretary of Commerce
     for Export Administration,
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                                     Defendants.
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 1                            CORPORATE DISCLOSURE STATEMENT
 2            Brady is a § 501(c)(3) non-profit corporation. No publicly held corporation holds its
 3   stock.
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 1                                       STATEMENT OF INTEREST

 2          Brady is a non-profit organization dedicated to reducing gun violence through education,

 3   research, and legal advocacy. Its membership includes individuals who are concerned with, and

 4   affected by, public health and safety issues stemming from gun violence. Brady has a substantial

 5   interest in ensuring that state and federal laws are not interpreted or applied in a way that would

 6   jeopardize the public’s interest in protecting individuals, families, and communities from the

 7   effects of gun violence. Brady submitted comments on the rules that are at the center of this

 8   litigation. See Ex. 3 (Brady Comments on the Proposed Rules). Brady has also filed numerous

 9   briefs as amicus curiae in cases involving the constitutionality and interpretation of gun laws,

10   including in Washington v. U.S. Dep’t of State, 318 F. Supp. 3d 1247 (W.D. Wash. 2018), and

11   Defense Distributed v. U.S. Dep’t of State, 838 F.3d 451 (5th Cir. 2016). Brady submits this

12   brief in support Plaintiffs’ position that Defendants failed to provide adequate notice and

13   opportunity to comment on the State and Commerce Departments Final Rules.

14                                           INTRODUCTION

15          The Administrative Procedure Act requires an agency to notify the public of—and

16   provide the public with an opportunity to comment on—the agency’s intention to change an

17   existing regulation or to promulgate a new regulation. See 5 U.S.C. §§ 553(b), 553(c), 551(5).

18   Adequate notice “is crucial to ‘ensure that agency regulations are tested via exposure to diverse

19   public comment,” “to ensure fairness to affected parties,” and “to give affected parties an

20   opportunity to develop evidence in the record to support their objections to the rule and thereby

21   enhance the quality of judicial review.” Int’l Union, United Mine Workers of Am. v. Mine Safety

22   & Health Admin., 626 F.3d 84, 95 (D.C. Cir. 2010) (citation omitted).

23          The Ninth Circuit has held that when a court considers whether an agency has satisfied

24   the notice requirement of the APA, the “essential inquiry focuses on whether interested parties

25   reasonably could have anticipated the final rulemaking from the draft [proposal].” Nat. Res. Def.

26   Council v. EPA, 279 F.3d 1180, 1186 (9th Cir. 2002). Thus, for example, where an agency

27   “embrace[s] an entirely different standard” in the final rule than the standard that was proposed,

28   the reviewing court should hold the agency’s actions in promulgating the final rule unlawful

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 1   because the agency has failed to afford interested parties the opportunity to comment on whether

 2   the change in the permit “conformed to the substantive requirements” of the law. Id. at 1189.

 3          That is precisely what happened here. The State and Commerce Departments have

 4   promulgated rules that will de-regulate the technical information—that is, the computer files—

 5   necessary to manufacture 3D printed guns. The agencies rules will accomplish this change by

 6   transferring the responsibility to regulate technical information related to 3D printed guns from

 7   the State Department to the Commerce Department. Brady was able to glean that much from the

 8   notices of proposed rulemaking. But what Brady did not know—and could not have discovered

 9   by examining the proposed rules—was the agencies’ intent to construct an entirely new standard

10   to regulate the export of the technical information necessary to manufacture 3D printed guns: the

11   new provision to be codified at 15 C.F.R. § 734.7(c).

12          In its notice of final rulemaking, the Commerce Department announced—for the first

13   time—that it will retain jurisdiction over files “for the production of a firearm, or firearm frame

14   or receiver” that are “made available by posting on the internet in electronic format” and are

15   “ready for insertion” into a computer or other machine that “makes use” of the files “to produce

16   the firearm frame or receiver or complete firearm.” Control of Firearms, Guns, Ammunition and

17   Related Articles the President Determines No Longer Warrant Control Under the United States

18   Munitions List, 85 Fed. Reg. 4136, 4172–73 (Jan. 23, 2020) (setting out the new Commerce rule

19   to be codified at 15 C.F.R. § 734.7(c)). Neither the text nor the substance of that provision were

20   in the notices of proposed rulemaking. The topic of that provision—the computer files necessary

21   to manufacture 3D printed guns—does not appear in the notices of proposed rulemaking either.

22   Yet, the Commerce’s inclusion of this new provision in the final rule will work a substantial

23   change in the regulatory regime that governs the online distribution of 3D printed guns.

24          In promulgating this new rule, the State and Commerce Departments denied Brady—and

25   other interested members of the public—the opportunity to comment on the new provision. “A

26   decision made without adequate notice and comment is arbitrary or an abuse of discretion” as a

27   matter of law. Nat. Res. Def. Council, 279 F.3d at 1186 (citing 5 U.S.C. § 706(2)(A)).

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 1                                               BACKGROUND

 2             1.        The statutory and regulatory path through which the State Department currently

 3   regulates the technical information necessary to manufacture 3D printed guns begins with the

 4   Arms Export Control Act. There, Congress authorized the President, “[i]n furtherance of world

 5   peace and the security and foreign policy of the United States,” to “control the . . . export of

 6   defense articles and defense services.” 22 U.S.C. § 2778(a)(1). The President has delegated that

 7   authority to the State Department. See Administration of Reformed Export Controls, Exec.

 8   Order No. 13,637, § 1(n), 3 C.F.R. 223–24 (2014). And, exercising that authority, the State

 9   Department has promulgated the International Traffic in Arms Regulations.                       See 22 C.F.R.

10   §§ 120–130. Consistent with the Act, see 22 U.S.C. § 2778(a)(1), the State Department’s

11   regulations create a list—called the “United States Munitions List”—of materials that constitute

12   “defense articles and defense services.” See 22 C.F.R. §§ 120.2, 121. The State Department’s

13   regulations also provide that all firearms up to .50 caliber, and all “technical data” directly

14   related        to    such   firearms—that     is,   “[i]nformation . . . which         is       required        for

15   the . . . production . . . of defense articles,” id.. § 120.10(a)(1)—are a part of the Munitions List.

16   See id. § 121.1(I)(a). Persons who want to “export” items on the Munitions List—that is,

17   “transfer[]” or “release[]” technical data to a foreign person, id. § 120.17(a)—must first obtain a

18   license from the State Department. See 22 U.S.C. § 2778(b)(2), 22 C.F.R. § 123.1(a).

19             Under the current regulatory regime, the State Department has the power to prevent a

20   person from uploading the technical information necessary to manufacture 3D printed guns to

21   the Internet because federal law requires a person to obtain a license from the State Department

22   before exporting items on the United States Munitions List. See Defense Distributed, 838 F.3d at

23   456; Washington, 318 F. Supp. at 1262 (citing 22 C.F.R. §§ 120.10, 120.11). That is, as noted

24   above, persons who want to export items on the United States Munitions List must first obtain a

25   license from the State Department to do so. See 22 U.S.C. § 2778(b)(2), 22 C.F.R. § 123.1(a).

26   The computer files that are needed to produce a 3D printed gun are “technical data” directly

27   related to firearms, 22 C.F.R. § 120.10(a)(1), and as a result, are included in the United States

28   Munitions List. See id. § 121.1(I)(a). And posting computer files that are needed to produce a

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 1   3D printed gun on the Internet, where that information can be accessed by foreign nationals, is an

 2   “export” of that information. See id. § 120.17.

 3          2.      In 2018, the State Department and the Commerce Department each published a

 4   notice of proposed rulemaking announcing the federal government’s intent to make substantial

 5   changes to the regulatory regime that governs the export of firearms. See Control of Firearms,

 6   Guns, Ammunition and Related Articles the President Determines No Longer Warrant Control

 7   Under the United States Munitions List, 83 Fed. Reg. 24,166 (May 24, 2018) (Commerce

 8   Proposed Rule); International Traffic In Arms Regulations: U.S. Munitions List Categories I, II,

 9   and III, 83 Fed. Reg. 24,198 (May 24, 2018) (State Proposed Rule).

10          The proposed rules silently announced the government’s intent to divest itself of the

11   power to prevent the widespread dissemination of the technical information necessary to

12   manufacture 3D printed guns. In particular, State proposed removing all non-automatic firearms

13   up to .50 caliber and related technical information—including the computer files needed to

14   manufacture a 3D printed gun—from the United States Munitions List. See State Proposed Rule,

15   83 Fed. Reg. 24,198. In making that change, State disclaims its authority to regulate the export

16   of such computer files. And if State no longer has that authority, then the agency will no longer

17   be able to stop a person from uploading the computer files necessary to manufacture 3-D printed

18   guns a person to the Internet.

19          Commerce’s proposed rule purported to solve that problem by providing that items

20   removed from the Munitions List would instead be regulated by Commerce under the Export

21   Control Reform Act and Commerce’s Export Administration Regulations.                       See Commerce

22   Proposed Rule, 83 Fed. Reg. 24,166. The Export Control Reform Act authorizes Commerce to

23   regulate the export of certain controlled commodities, software, and technology. See 50 U.S.C.

24   §§ 4801(7), 4812. But Commerce’s proposed rule cannot not fill the regulatory void created by

25   State’s proposed rule because the Commerce’s authority under the Export Control Reform Act is

26   limited in a way that the State’s authority under the Arms Export Control Act is not.

27          Under the Export Control Reform Act, Commerce lacks jurisdiction to regulate the

28   export of “published” technology or software. See 15 C.F.R. §§ 734.3(b)(3), 734.7(a). And

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 1   Commerce’s regulations define “published” technology or software as technology or software

 2   that “has been made available to the public without restrictions upon its further dissemination.”

 3   Id. § 734.7(a). So where the Arms Export Control Act and State’s regulations empower the State

 4   Department to prevent a person from posting computer files that are needed to produce a 3D

 5   printed gun on the Internet, the Export Control Reform Act and Export Administration

 6   Regulations would render the Commerce Department powerless to prevent a person from sharing

 7   computer files that are needed to produce a 3D printed gun.

 8          3.      Brady spotted this “significant loophole.” Ex. 3 at 8. In Brady’s comments on

 9   the proposed rules, Brady noted that “if jurisdiction over technical data related to the design,

10   production or use of semi-automatic or military-style firearms transfers to [Commerce], there

11   would no longer be any controls on companies or individuals releasing such sensitive

12   information into the public domain.” Id. As Brady explained, “[i]t has been [State’s] long

13   standing practice to require prior authorization for any public release of . . . controlled technical

14   data, source code or software (e.g., posting controlled technical data on a public website),” but

15   Commerce “takes a less stringent approach to publicly available information, removing

16   . . . controls once the items are made public (or intended to be made public) without requiring

17   prior authorization.” Id. Thus, Brady warned that “if a gun manufacturer posts a firearm’s

18   operation and maintenance manual on the Internet” then the “information included in that

19   published manual would no longer be . . . subject to export controls.” Id.

20          Brady also warned that the loophole would result in the proliferation of 3-D printed guns.

21   As Brady pointed out, “the Fifth Circuit ordered manufacturer Defense Distributed to remove 3-

22   D printing instructions from the Internet after the State Department charged the company with

23   violating the [State Department Regulations].” Id. (citing Defense Distributed, 838 F.3d at 451–

24   76). “In contrast, under the proposed rules, such manufacturers would be able to freely release

25   3-D printing instructions and code into the public domain (and thereby enable the private

26   production of firearms overseas and in the United States), as the [Commerce Regulations] permit

27   publication of source code and technology (except encryption source code and technology)

28   without authorization from [the Commerce Department].” Id.

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 1          4.      Last month, the State and Commerce Departments promulgated their Final Rules

 2   without closing this loophole. See Control of Firearms, Guns, Ammunition and Related Articles

 3   the President Determines No Longer Warrant Control Under the United States Munitions List,

 4   85 Fed. Reg. 4136 (Jan. 23, 2020) (Commerce Final Rule); International Traffic In Arms

 5   Regulations: U.S. Munitions List Categories I, II, and III, 85 Fed. Reg. 3819 (Jan. 23, 2020)

 6   (State Final Rule).

 7          Instead, the agencies created an entirely different kind of loophole. State’s final rule

 8   confirmed its decision to remove non-automatic firearms and related technical information—

 9   including the computer files need to manufacture a 3D printed gun—from the Munitions List.

10   See State Final Rule, 85 Fed. Reg. 3819, 3823. But Commerce’s final rule included a new

11   provision that did not appear in the Proposed Rules. See Commerce Final Rule, 85 Fed. Reg. at

12   4162. Under that new provision, which will be codified at 15 C.F.R. § 734.7(c), notwithstanding

13   the ordinary exception from jurisdiction for “published” items, Commerce explained that it will

14   retain jurisdiction over files “for the production of a firearm, or firearm frame or receiver” that

15   are “made available by posting on the internet in electronic format” and are “ready for insertion”

16   into a computer or other machine that “makes use” of the files “to produce the firearm frame or

17   receiver or complete firearm.” See Commerce Final Rule, 85 Fed. Reg. at 4172–73 (setting out

18   the new rule to be codified at 15 C.F.R. § 734.7(c)).

19          Section 734.7(c) creates a regulatory regime that differs substantially from the one

20   currently in effect. First, the new regulations differ from the existing regulations because the

21   Final Rules authorize—where current regulations would prohibit—the distribution of the

22   technical information necessary for manufacturing 3D printed guns by any means other than

23   “posting on the internet.” So under the Final Rules, a person could transfer the technical

24   information necessary to manufacture 3-D printed guns to a foreign national through an email, an

25   AirDrop, or a USB drive. Second, the new regulations also differ from the existing regulations

26   because the Final Rules authorize—where existing regulations would prohibit—the distribution

27   of the technical information necessary for manufacturing 3D printed guns in any format that is

28   not readable by a 3D printer. So under the Final Rules, a person could distribute the technical

      BRIEF OF AMICUS CURIAE BRADY - 6                                         H OGA N L OVE LL S US LLP
                                                                           555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                             W A SHINGT ON , D.C. 20004
                                                                        (202) 637-5600 FAX: (202) 637-5910
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 1   information necessary for manufacturing 3D printed guns in any computer language that is not

 2   readable by a 3D printer, but could easily become so. And third, the new regulations differ from

 3   the existing regulations because the Final Rules authorize—where existing regulations would

 4   prohibit—the distribution of the technical information necessary for manufacturing components

 5   of a 3D printed gun other than the firearm frame or receiver. So under the Final Rules, a person

 6   could distribute the technical information necessary for manufacturing the barrel of or magazine

 7   for a 3D printed gun.

 8          Section 734.7(c) also represents a substantial departure from the State and Commerce

 9   Department’s proposed rules.        First, neither the substance nor the text of Section 734.7(c)

10   appears in State and Commerce’s notices of proposed rulemaking. And second, neither State’s

11   nor the Commerce’s notice of proposed rulemaking mention 3D printed guns at all. Thus,

12   although the Final Rules are similar to the Proposed Rules in that they create a new regulatory

13   regime under which the federal government will lack the power to prevent the widespread

14   dissemination of the technical information necessary to manufacture 3D printed guns, the new

15   provision in the Commerce Final Rule still differs substantially from what the State and

16   Commerce Departments proposed.

17          5.      If Brady had been given the opportunity to comment on the new Section 734.7(c),

18   it would have done so. See generally Ex. 2 (Decl. of Kelly Sampson). As noted above, Brady

19   commented on the proposed rules’ applicability to 3D printed guns. Brady was attentive to and

20   interested in this issue. And if the State and Commerce Departments had given Brady the

21   opportunity to comment on Section 734.7(c), Brady would have opined on whether the

22   regulation of 3D printed guns through an exception to the Commerce Department’s existing

23   regulations would conform to the substantive requirements of the law.

24                                              ARGUMENT

25          The State Department and the Commerce Department violated the APA in promulgating

26   the Final Rules at issue here. The APA requires administrative agencies like the State and

27   Commerce Departments to provide an opportunity for notice and comment for its proposed

28   regulations and rules. See 5 U.S.C. § 553(b)-(c). Although a final rule need not be the same as a

      BRIEF OF AMICUS CURIAE BRADY - 7                                         H OGA N L OVE LL S US LLP
                                                                           555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                             W A SHINGT ON , D.C. 20004
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 1   proposed rule, it must be a logical outgrowth of the proposed rule See Nat. Res. Def. Council,

 2   279 F.3d at 1186, or a second round of comment is required, see Am. Water Works Assoc. v.

 3   EPA, 40 F.3d 1266, 1274 (D.C. Cir. 1994). Section 734.7(c) is not a logical outgrowth of the

 4   proposed rules. Brady did not have an adequate opportunity to comment on this provision. And

 5   the State and Commerce Department’s failure to comply with the APA’s notice requirements

 6   was not harmless. Accordingly, the State and Commerce Department’s promulgation of that

 7   provision violates the APA, and the Court should vacate the final rules.

 8          I.      The Commerce Department Rule to be Codified at 15 C.F.R. § 734.7(c) Is

 9                  Not a Logical Outgrowth of State and Commerce’s Proposed Rules.

10          1.      The APA requires agencies to provide notice of the “terms or substance” of

11   proposed regulations and to provide an opportunity for the public to comment on its proposals. 5

12   U.S.C. § 553(b), (c). While a final rule need not be “identical” to the proposed rule, “a final rule

13   which departs from the proposed rule must be a logical outgrowth of the proposed rule.” Nat.

14   Res. Def. Council, 279 F.3d at 1186 (citation omitted). Thus, where an agency “embrace[s] an

15   entirely different standard” in the final rule than the one that was proposed, the reviewing court

16   should hold the agency’s actions in promulgating the final rule unlawful. Id. at 1189.

17          Here, the State and Commerce Department’s notices of proposed rulemaking tacitly

18   indicated that the federal government would divest itself of the power to prevent the widespread

19   dissemination of the technical information necessary to manufacture 3D printed guns.                          In

20   particular, State proposed removing certain non-automatic firearms and related technical

21   information—including the computer files needed to manufacture a 3D printed gun—from the

22   United States Munitions List. See State Proposed Rule, 83 Fed. Reg. 24,198. Commerce’s

23   proposed rule purported to solve the problem created by State’s proposal to deregulate this group

24   of firearms by regulating the items removed from the Munitions List. See Commerce Proposed

25   Rule, 83 Fed. Reg. 24,166. But because the Commerce lacks jurisdiction to regulate the export

26   of “published” technology or software, see 15 C.F.R. §§ 734.3(b)(3), 734.7(a), the agencies

27   essentially announced that the federal government would be powerless to prevent the

28   dissemination of the technical information necessary to produce a 3D printed gun.

      BRIEF OF AMICUS CURIAE BRADY - 8                                          H OGA N L OVE LL S US LLP
                                                                            555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                              W A SHINGT ON , D.C. 20004
                                                                         (202) 637-5600 FAX: (202) 637-5910
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 1          By contrast, the State and Commerce Department’s notices of final rulemaking indicated

 2   that the federal government would regulate the dissemination of the technical information

 3   necessary to manufacture 3D printed guns, albeit ineffectually. In particular, Commerce’s final

 4   rule contained a provision that appears to have been specifically drafted to address the

 5   dissemination of technical information related to 3D printed guns. Under that new provision,

 6   which will be codified at 15 C.F.R. § 734.7(c), notwithstanding the ordinary exception from

 7   jurisdiction for “published” technology or software, Commerce explained that it will retain

 8   jurisdiction over files “for the production of a firearm, or firearm frame or receiver” that are

 9   “made available by posting on the internet in electronic format” and are “ready for insertion”

10   into a computer or other machine that “makes use” of the files “to produce the firearm frame or

11   receiver or complete firearm.” Commerce Final Rule, 85 Fed. Reg. 4136,4172–73.

12          Thus, prior to the publication of the final rules, the agencies gave no indication that they

13   would develop a specific regulation to address the threat posed by the online dissemination of

14   technical information related to 3D printed guns. Indeed, prior to the publication of the final

15   rules, the agencies had tacitly conveyed that they did not intend to regulate technical information

16   related to 3D printed guns at all. Commerce all but acknowledged the fact that it was flipping

17   the regulatory switch from “off” to “on” when it said in the notice of final rulemaking that “[a]t

18   the time of the proposed rule, [Commerce] believed that its existing framework struck the

19   appropriate approach in providing for national security and foreign policy control of firearms”

20   that would transfer from the Munitions List, but “[s]ince that time, [Commerce] has had

21   considerable time to review the comments related to 3D printing of firearms,” and concluded that

22   “the framework of [Commerce] regulations as described in the proposed rule did not adequately

23   address” the issue of “regulating the unlimited access to certain files for the 3D printing of

24   firearms.” Commerce Final Rule, 85 Fed. Reg. 4136, 4141–42.

25          The addition of an entirely new provision is not the sort of deviation from the proposed

26   rule that is allowed under the APA as a logical outgrowth of the proposals on which the public

27   had the opportunity to comment. “Something is not a logical outgrowth of nothing.” Envtl.

28   Integrity Project v. EPA, 425 F.3d 992, 996 (D.C. Cir. 2005) (citation omitted); see also, e.g.,

      BRIEF OF AMICUS CURIAE BRADY - 9                                         H OGA N L OVE LL S US LLP
                                                                           555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                             W A SHINGT ON , D.C. 20004
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 1   Alameda Health Sys. v. Ctrs. for Medicare & Medicaid Servs., 287 F. Supp. 3d 896, 918 (N.D.

 2   Cal. 2017) (final rule was not a logical outgrowth where challenged provision was “not

 3   mentioned at all” in the proposed rule).

 4          2.      The conclusion that the Section 734.7(c) is not a logical outgrowth of the State

 5   and Commerce Department’s proposed rules is underscored by the record that was before the

 6   agency. As the Ninth Circuit has explained, “in determining the adequacy of [an agency’s]

 7   notice and comment procedure,” the “salient question” is “whether interested parties reasonably

 8   could have anticipated the final rulemaking from the draft.” Nat. Res. Def. Council, 279 F.3d at

 9   1187 (internal quotation marks and citation omitted). Put another way, where the final rule’s

10   substance is “‘not foreshadowed in proposals and comments advanced during the rulemaking,’ it

11   will not be considered a ‘logical outgrowth’ because it may catch interested parties by surprise.”

12   Citizens for Better Forestry v. U.S. Dep’t of Agric., 481 F. Supp. 2d 1059, 1073 (N.D. Cal. 2007)

13   (quoting Nat. Res. Def. Council, 279 F.3d at 1188).

14          But Commerce does not cite any comments that foreshadowed the agency’s adoption of

15   the specific requirements set out in Section 734.7(c). That is, Commerce does not cite any

16   comments showing that the public supported Commerce’s decision to “tailor[]” the new Section

17   734.7(c) so that “only technology or software for the complete firearm, its frame, or its receiver

18   are subject to [Commerce] licensing requirements” 85 Fed. Reg. 4136, 4142. Commerce does

19   not cite any comments to show that the public approved of Commerce’s decision to “craft[] its

20   rule to regulate dissemination” in the “electronic format that the internet provides.” Id. And

21   Commerce does not cite any comments to show how the public was involved in helping the

22   agency “reach[] the conclusion” that “technology and software ready for insertion into an

23   automated manufacturing tool” should be the focus of the rule. Id.

24          The agencies’ inability to cite comments regarding the new Section 734.7(c) underscores

25   the fact that the State and Commerce Departments “clearly caught [public commenters] by

26   surprise.” Nat. Res. Def. Council, 279 F.3d at 1188 (citation omitted). By contrast, cases finding

27   that an agency rule was a logical outgrowth of the rulemaking identify clear connections between

28   the proposed rule and the issues extensively discussed in public comments. See, e.g., Envtl. Def.

      BRIEF OF AMICUS CURIAE BRADY - 10                                       H OGA N L OVE LL S US LLP
                                                                          555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                            W A SHINGT ON , D.C. 20004
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 1   Center, Inc. v. U.S. EPA, 344 F.3d 832, 852 (9th Cir. 2003) (final rule was a “logical outgrowth”

 2   where it “contain[ed] no elements that were not part of the original rule”); Foss v. Nat’l Marine

 3   Fisheries Serv., 161 F.3d 584, 591 (9th Cir. 1998) (agency’s adoption of application deadline

 4   was valid where public comment was “extensive” and included “specific references” to the

 5   deadline issue); Rybachek v. U.S. EPA, 904 F.2d 1276, 1288 (9th Cir. 1990) (EPA’s adoption of

 6   provisions “strongly recommended” by public commenters was “very much in character with the

 7   original proposal and a logical outgrowth of the notice and comments”). There is no such

 8   connection between the proposed and final rules is here.

 9          II.     Brady Did Not Have Adequate An Adequate Opportunity to Comment on

10                  the Commerce Department Rule to be Codified at 15 C.F.R. § 734.7(c).

11          Brady did not have an adequate opportunity to comment on the final rules. To be sure,

12   Brady submitted comments regarding how the proposed rules would affect the regulation of

13   technical information related to 3D printed guns. See Ex. 3. In particular, Brady commented on

14   a loophole in the State and Commerce Department’s proposed rules that would have deregulated

15   the dissemination of technical information related to 3D printed guns.              But Brady did not

16   comment on Section 734.7(c). Brady was not able to develop or express its views regarding

17   whether Commerce should promulgate a regulation to specifically address the dissemination of

18   the technical information necessary to manufacture a 3D printed gun. Brady was not able to

19   express its views about Commerce’s decision to regulate some, but not all components of a 3D

20   printed gun. Brady was not able to express its views about Commerce’s decision to regulate

21   some, but not other electronic formats for the technical information necessary to manufacture a

22   3D printed gun. And Brady was not able to express its views about Commerce’s decision to

23   regulate technical information that is “ready for insertion” into a 3D printer, but leave

24   unregulated technical information that can easily be made ready for insertion. Put another way,

25   Brady’s comments on the proposed rules’ implications for 3D printed guns cannot reasonably be

26   viewed as comments on the final rules’ Section 734.7(c). That provision is entirely new. As

27   would be Brady’s comments on that provision.

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      BRIEF OF AMICUS CURIAE BRADY - 11                                       H OGA N L OVE LL S US LLP
                                                                          555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                            W A SHINGT ON , D.C. 20004
                                                                       (202) 637-5600 FAX: (202) 637-5910
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 1          III.    The State and Commerce Departments’ Failure to Comply with the APA’s

 2                  Requirements Was Not Harmless.

 3           Nothing about the circumstances of this case indicates that the State and Commerce

 4   Departments should be excused from complying with the APA’s requirements. See California v.

 5   Azar, 911 F.3d 558, 580 (9th Cir. 2018) (“The failure to provide notice and comment is harmless

 6   only where the agency’s mistake ‘clearly had no bearing on the procedure used or the substance

 7   of decision reached.’”) (citation omitted). The agencies did not, for example, simultaneously

 8   called for the public’s views on the issue pursuant to a different statute.                 Cf. Sagebrush

 9   Rebellion, Inc. v. Hodel, 790 F.2d 760, 763–64 (9th Cir. 1986). Nor did the agencies merely

10   make a technical violation, such as publishing the final rule earlier than described in the

11   governing statute. Cf. Cty. of Del Norte v. United States, 732 F.2d 1462, 1467 (9th Cir. 1984).

12          To the contrary, the agency error at issue here implicates the most fundamental of APA’s

13   rulemaking requirements: the requirement that agencies “shall” publish a “notice of proposed

14   rulemaking … in the Federal Register,” and the requirement that agencies “shall give interested

15   persons an opportunity to participate in the rule making through submission of written data,

16   views, or arguments” for the agency’s consideration. 5 U.S.C. § 553(b), (c). The word “shall”

17   indicates a “command that admits of no discretion” on the agency’s part. Nat’l Ass’n of Home

18   Builders v. Defs. of Wildlife, 551 U.S. 644, 661–62 (2007). Consequently, “[a] decision made

19   without adequate notice and comment is arbitrary or an abuse of discretion” as a matter of law.

20   Nat. Res. Def. Council, 279 F.3d at 1186 (citing 5 U.S.C. § 706(2)(A)). See, e.g., Paulsen v.

21   Daniels, 413 F.3d 999, 1006 (9th Cir. 2005) (rejecting a harmless error claim where an agency

22   failed to comply with notice-and-comment requirements); Empire Health Found. for Valley

23   Hosp. Med. Ctr. v. Price, 334 F. Supp. 3d 1134, 1163 (E.D. Wash. 2018) (same).                     Therefore,

24   this Court should not excuse the State and Commerce Department’s failure to comply with the

25   requirements of the Administrative Procedure Act here.

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      BRIEF OF AMICUS CURIAE BRADY - 12                                       H OGA N L OVE LL S US LLP
                                                                          555 T HIRT E E NT H S T REE T , N.W.
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                                                                       (202) 637-5600 FAX: (202) 637-5910
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 1                                         CONCLUSION

 2          For the foregoing reasons, the Court should grant Plaintiffs’ motion for a preliminary

 3   injunction.

 4
     DATED: February 13, 2020                       Respectfully submitted,
 5
                                                    HOGAN LOVELLS US LLP
 6
                                                    By: s/ Neal Kumar Katyal
 7                                                  Neal Kumar Katyal
                                                    555 Thirteenth Street, N.W.
 8                                                  Washington, D.C. 20004
                                                    Tel: (202) 637-5528
 9                                                  Fax: (202) 637-5910
                                                    neal.katyal@hoganlovells.com
10
                                                    FRIEDMAN | RUBIN PLLP
11
                                                    By: s/ Ronald J Park
12                                                  Ronald J. Park
                                                    FRIEDMAN RUBIN PLLP
13                                                  WSBA #54372
                                                    1109 1st Avenue, Suite 501
14                                                  Seattle, WA 98101
                                                    Phone: (206) 501-4446
15                                                  rpark@friedmanrubin.com
16                                                  Attorneys for Amicus Curiae
17

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26

27

28

      BRIEF OF AMICUS CURIAE BRADY - 13                                    H OGA N L OVE LL S US LLP
                                                                       555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                         W A SHINGT ON , D.C. 20004
                                                                    (202) 637-5600 FAX: (202) 637-5910
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 1
                                          CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on February 13, 2020, I electronically filed the foregoing with the
 4   Clerk of the Court using the CM/ECF system, which will send notification of such filing to those
 5   attorneys of record registered on the CM/ECF system.
 6
            DATED February 13, 2020.
 7

 8                                                    HOGAN LOVELLS US LLP

 9                                                    By s/ Neal Kumar Katyal
                                                         Neal Kumar Katyal
10                                                       555 Thirteenth Street, N.W.
11                                                       Washington, D.C. 20004
                                                         Tel: (202) 637-5528
12                                                       Fax: (202) 637-5910
                                                         neal.katyal@hoganlovells.com
13
                                                      FRIEDMAN | RUBIN PLLP
14
                                                      By: s/ Ronald J Park
15                                                       Ronald J. Park
                                                         WSBA #54372
16                                                       1109 1st Avenue, Suite 501
                                                         Seattle, WA 98101
17                                                       Phone: (206) 501-4446
                                                         rpark@friedmanrubin.com
18
                                                          Attorneys for Amicus Curiae
19
20

21

22

23

24

25

26

27

28

      BRIEF OF AMICUS CURIAE BRADY - 14                                         H OGA N L OVE LL S US LLP
                                                                            555 T HIRT E E NT H S T REE T , N.W.
      Case No. 2:20-cv-00111-RAJ                                              W A SHINGT ON , D.C. 20004
                                                                         (202) 637-5600 FAX: (202) 637-5910
